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                                                         Exhibit A to the Complaint
Location: Washington, DC                                                                           IP Address: 70.110.19.194
Total Works Infringed: 25                                                                          ISP: Verizon Fios
 Work     Hashes                                                               UTC          Site         Published      Registered   Registration
 1        Info Hash:                                                           04/29/2021   Blacked      04/24/2021     04/27/2021   PA0002288981
          C452AEE9A62AAAC042D92760381EB93D56CC4624                             03:56:14
          File Hash:
          A74133F226748B4F84D52A2C60513BCCB93A5309DCB1FDF59DA9EE0A2EFD4356
 2        Info Hash:                                                           04/26/2021   Blacked      12/08/2019     12/17/2019   PA0002217664
          D9153714340B8A118B0E8886A6F37F370587889A                             23:51:07     Raw
          File Hash:
          0CD4D11CFE9F72D556632768B634DF98B11D4EBF6DD025F762E50FD9DD5B2296
 3        Info Hash:                                                           03/23/2021   Blacked      03/22/2021     04/14/2021   PA0002286722
          584FA51D25C60F0E711E00662C57AEC5287BBCCD                             19:57:55     Raw
          File Hash:
          12741E823567636C1754D511EE8F3C9E005F15C8EB04D5BF29692F29C0791D00
 4        Info Hash:                                                           02/27/2021   Blacked      02/22/2021     03/08/2021   PA0002280371
          6C0E1FB88038092CAB0AE05234C54A15CF40E0A1                             18:26:34     Raw
          File Hash:
          94D17E7894AD3715882A76F5B0396AAD161FA372C0D1A2DFB0BEDFD6E57951A1
 5        Info Hash:                                                           02/01/2021   Blacked      01/30/2021     02/26/2021   PA0002283695
          2BE97DFA49EF767D94E4040239C494349D409C46                             00:42:55
          File Hash:
          EBECDE01923BC5F8B50C0700F6BD81D8A5DCE5C823A61C812B675ED1D9613424
 6        Info Hash:                                                           01/31/2021   Vixen        03/30/2018     04/17/2018   PA0002116756
          3FAFBAE34C2D75BE3584038E1FB6D029EBAFC6FC                             23:06:24
          File Hash:
          4EACC33EDB6E6FEAC50A101AB4482022AD3F91C1A58A45BD07B6DDE4F9E84964
 7        Info Hash:                                                           01/13/2021   Blacked      01/11/2021     02/26/2021   PA0002283703
          49635DA350CACC630E1B30CD5322C3D7C3183F00                             00:14:58     Raw
          File Hash:
          F0E3996AEC8F14108B8BABA8B149E40794710E3EC09D3EBB2C7F6CE122ED929A
 8        Info Hash:                                                           01/10/2021   Blacked      01/09/2021     02/09/2021   PA0002276152
          2862FA0426C54DF5E65C7A671C2FAC7887418C6F                             11:59:37
          File Hash:
          33323486571753E5D76822CDCC102A957F57DE62E5AF27D8C951EB06958D0989
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Work   Hashes                                                             UTC          Site      Published    Registered   Registration
9      Info Hash:                                                         01/09/2021   Blacked   11/09/2020   12/09/2020   PA0002274940
       9D03ACCBE88FB63BAA7325FC79C9B3B35E329643                           00:21:20     Raw
       File Hash:
       CEE276E57F9C15AF2B3DBE38D64187B5F406AB3980DF6704D80680850B0D4EEA
10     Info Hash:                                                         01/04/2021   Blacked   06/26/2018   08/07/2018   PA0002131867
       A6FF0DFFB8C940B3F920070610E0613AE3715065                           00:51:46     Raw
       File Hash:
       E6DD24FB7E8AA1D3646CCBC780B1CEB806A10868AC93E893DD6F1A54B2099B91
11     Info Hash:                                                         12/29/2020   Blacked   12/28/2020   01/05/2021   PA0002269956
       7BCAF3207D7ADED3194F9AD8EA8BA3A9B147F568                           22:06:29     Raw
       File Hash:
       8E557F72C44AAC0DFA29657A6636DE991F5E4DF30137A26C7DD96D6B64F21E2D
12     Info Hash:                                                         12/23/2020   Blacked   12/21/2020   01/05/2021   PA0002269958
       7A55D40C0AC6D4D98039ED938F88F0ECE565C3C2                           00:50:15     Raw
       File Hash:
       13695C39A914DBC94B480E90A90A2B1226545E984E809BB8E11D7D0E88677BF0
13     Info Hash:                                                         12/19/2020   Blacked   12/14/2020   12/28/2020   PA0002269086
       E75DBA0655ED0539A3E3C83394A5A123D8198889                           06:41:51     Raw
       File Hash:
       18F7A4DAC3D26DC3D3FB59E63DE53E8520FD4A26417584F1BFE7A035F9240407
14     Info Hash:                                                         12/12/2020   Vixen     12/11/2020   01/04/2021   PA0002277039
       39B258056BC2EB474C97D6716D53AC9549E5D86F                           01:03:43
       File Hash:
       F87F73D0A510E7794F351B7D5B4EBF593968288D9330CA29799B014AE72B954D
15     Info Hash:                                                         11/23/2020   Blacked   11/21/2020   11/30/2020   PA0002266354
       9A235A3B173EBC1924784B571FA2EE9C3E96B4CF                           23:11:25
       File Hash:
       44FFB5B48EEC7B77914F5565089A5C9650E0698BE8DF1E4EE2D3E885B18B6764
16     Info Hash:                                                         11/23/2020   Blacked   11/23/2020   12/09/2020   PA0002274806
       7124EDEC97F33ED197DD3A7B6771B9FDD21F2A4B                           22:41:37     Raw
       File Hash:
       369B052861FE2BDB9B9F0E36270485C24BEB0611A43E582A9150EAD7DAE1B011
17     Info Hash:                                                         11/05/2020   Vixen     10/30/2020   11/18/2020   PA0002272620
       1A7246D672BF75E1B54BD209E1A045C1537C3382                           05:12:51
       File Hash:
       CDCF5E58B50B8E4B1CEDBEDF1D3C4025C2120BDF5107AF1E45ED0BDEAC00FB1D
                                Case 1:21-cv-01243-APM Document 1-1 Filed 05/06/21 Page 3 of 3

Work   Hashes                                                             UTC          Site      Published    Registered   Registration
18     Info Hash:                                                         10/27/2020   Blacked   10/26/2020   11/18/2020   PA0002272624
       07B81AB10D2FBF5167F8BB0E4A33930DC1ADCF47                           02:55:08     Raw
       File Hash:
       FE1411E9037347A3FE8D7659BD29D5CA30FA794FE9F2B985A7AF3A091FCF8FA8
19     Info Hash:                                                         10/07/2020   Blacked   10/05/2020   10/22/2020   PA0002261806
       9352D370D33CC9FA273FC8B6E660F317B53AB89A                           04:08:04     Raw
       File Hash:
       444AA5F2B3ECAFCD7594C9F15005CAF6298621D86EE925C3421E1B54DD68A919
20     Info Hash:                                                         10/05/2020   Blacked   10/03/2020   10/22/2020   PA0002261803
       D351628EADEDD6324BC996E625934E8314F4AC8B                           17:34:43
       File Hash:
       D904AA1F88C7A7CD122A05DBC80230E9C89977550F62C666B36FDF3007340AC2
21     Info Hash:                                                         09/29/2020   Blacked   09/28/2020   10/22/2020   PA0002261800
       F419F0F5662DDC2B0518247EEF089638D371876E                           22:03:44     Raw
       File Hash:
       21AF699188C67A684BFA0CFA717728558A67413FBDE4A625EC706F45C5F4BA85
22     Info Hash:                                                         09/21/2020   Blacked   09/19/2020   09/29/2020   PA0002258681
       E2CA4D4217E8E7EDD519E8CC21101219F0611D8A                           23:44:53
       File Hash:
       DCBE041407D9045781E5318840AEAEEE2E846C4FDB72FA4FF168C59CEC30F0EA
23     Info Hash:                                                         09/21/2020   Vixen     09/18/2020   09/29/2020   PA0002258680
       3B6198833B8CF16DAE7D8E122C3AD5AD62507AAD                           22:57:27
       File Hash:
       D1F3EF62AA81DCC45B49CE454C8E234C6C5668D49212ACF906FAAFCE9AE72D1B
24     Info Hash:                                                         09/21/2020   Blacked   09/21/2020   09/29/2020   PA0002258687
       4CF6B0E28DD56E7F9BF49F8C6C742F40D0DAB351                           22:19:20     Raw
       File Hash:
       F9F5B138C36A423E5345072599F4E77FC3B3B94AFD6B70D6770120EBCDE8CAF1
25     Info Hash:                                                         09/01/2020   Blacked   08/31/2020   09/05/2020   PA0002255473
       4F3CAA9D7D8185F294DFF09E8276BDEC62D8A41C                           03:40:27     Raw
       File Hash:
       919E33445946B2E47A9223CBBA2E2666E8F11A358771039219D7B4160EB14A31
